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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MARYLAND

                                           *
SAQIB ALI,
                                           *
              Plaintiff,
                                           *
     v.                                        No. 1:19-CV-00078-CCB
                                           *
LAWRENCE HOGAN, et al.,
                                           *
              Defendants.
      *   *      *    *    *   *   *   *   *   *    *   *   *    *   *   *    *

                           GOVERNOR HOGAN’S REPLY
                       IN SUPPORT OF MOTION TO DISMISS




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                           GOVERNOR HOGAN’S REPLY
                       IN SUPPORT OF MOTION TO DISMISS

       Antidiscrimination laws like Maryland’s are constitutional, as courts have long held.

See, e.g., Roberts v. U.S. Jaycees, 468 U.S. 609, 615, 623 (1984) (upholding Minnesota

law forbidding discrimination based on “race, color, creed, religion, disability, national

origin or sex”); Md. Code Ann., State Fin. & Proc. § 19-101(a) (forbidding commercial

discrimination “on the basis of race, color, religion, ancestry or national origin, sex, age,

marital status, sexual orientation, or on the basis of disability”). The Executive Order at

issue here is but a specific application of that more general prohibition on national-origin

discrimination, as the Governor explained in the memorandum accompanying his motion

to dismiss. ECF 9-1 at 30. Mr. Ali concedes the point; he acknowledges that the Executive

Order “prohibits one form of national-origin discrimination: discrimination against Israel.”

Plaintiff’s Combined Opposition to Defendants’ Motions to Dismiss, ECF 11 (“Opp.”) at

15.

       That concession requires dismissal of Mr. Ali’s claims on all three grounds

identified in the Governor’s motion to dismiss.           First, given that national-origin

discrimination is already prohibited by Maryland’s antidiscrimination law, Mr. Ali lacks

standing because the relief he seeks—invalidation of the Executive Order—would not

redress his purported injury, as he still would not be able to certify that he will not engage

in national-origin discrimination, as the standard procurement forms require independently

of the Order. Second, sovereign immunity bars this suit against the Governor because the

Governor does not enforce the antidiscrimination laws—the Commission on Civil Rights
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does—and thus does not have the “special relation” to enforcement that Ex parte Young

requires. Finally, the fact that the Executive Order focuses on only “one form of national-

origin discrimination” does not render it content- or viewpoint-based. “‘States adopt laws

to address the problems that confront them,’” and courts “cannot infer” a discriminatory

purpose from a measure’s “limited scope.” McCullen v. Coakley, 573 U.S. 464, 481 (2014)

(citations omitted)).

I.     MR. ALI LACKS STANDING TO CHALLENGE THE CONSTITUTIONALITY OF
       THE EXECUTIVE ORDER BECAUSE HE HAS NOT SUFFERED A CONCRETE
       INJURY THAT CAN BE REDRESSED BY THE RELIEF HE SEEKS.

       First, given that national-origin discrimination is already prohibited by Maryland’s

antidiscrimination law, Mr. Ali lacks standing because the relief he seeks—invalidation of

the Executive Order—would not redress his purported injury, as he still would not be able

to certify that he will not engage in national-origin discrimination.

       The standard procurement application form, which Mr. Ali refers to throughout his

complaint, see, e.g., Compl. ¶41, requires each bidder to certify that, “[i]n preparing its

Bid/proposal on this project, the Bidder/Offeror has considered all Bid/proposals submitted

from qualified, potential subcontractors and suppliers, and has not engaged in

‘discrimination’ as defined in § 19-103 of the State Finance and Procurement Article of the

Annotated Code of Maryland.” Bid/Proposal Affidavit at C-1, ¶B (“Certification

Regarding Commercial Nondiscrimination”) (attached hereto and available at

https://procurement.maryland.gov/wp-content/uploads/sites/12/2018/04/AttachmentC-

Bid_Proposal-Affidavit.pdf). The Affidavit goes on to define the term “discrimination”:



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       “Discrimination” means any disadvantage, difference, distinction, or
       preference in the solicitation, selection, hiring, or commercial treatment of a
       vendor, subcontractor, or commercial customer on the basis of race, color,
       religion, ancestry, or national origin, sex, age, marital status, sexual
       orientation, sexual identity, genetic information or an individual’s refusal to
       submit to a genetic test or make available the results of a genetic test,
       disability, or any otherwise unlawful use of characteristics regarding the
       vendor’s, supplier’s, or commercial customer’s employees or owners.

Id.

       As Mr. Ali concedes, the discrimination against Israelis and Israeli companies that

the Executive prohibits is but “one form of national-origin discrimination.” Opp. at 15. If,

as Mr. Ali contends, he would not be able to truthfully execute the certification required

under the Executive Order, Compl. ¶42, he surely would not be able to truthfully execute

the standard commercial nondiscrimination certification that accompanies all State

requests for bids or proposals. Accordingly, even if he were to obtain the relief he seeks—

“an injunction striking the ‘No Boycott of Israel’ certification from any bid proposal he

submits to a Maryland agency governed by Executive Order 01.01.2017.25,” Compl. at 12

(¶C)—he would still not be able to bid on State projects.

       To establish standing here, Mr. Ali must demonstrate that the injury he alleges—

inability to bid on State contracts—likely will be redressed by a favorable decision. Lujan

v. Defenders of Wildlife, 504 U.S. 555, 561 (1992). An injury is not redressable if another

restriction, not challenged in the litigation, would cause the same injury even if the plaintiff

“achieved total victory.” Harp Advert. Illinois, Inc. v. Village of Chicago Ridge, Ill., 9 F.3d

1290, 1291 (7th Cir. 1993) (citing Renne v. Geary, 501 U.S. 312, 319 (1991); see Trinity

Outdoor, L.L.C. v. City of Rockville, Maryland, No. CIV. JFM-03-2372, 2004 WL 78054,


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at *2-3 (D. Md. Jan. 15, 2004), aff’d sub nom. Trinity Outdoor, L.L.C. v. City of Rockville,

MD, 123 F. App’x 101 (4th Cir. 2005) (following Harp). Because Mr. Ali would suffer

the same injury regardless of whether the certification required by the Executive Order is

in place, he lacks standing to pursue this challenge.

       Nor do the other reasons that Mr. Ali offers for why he should be excused from

having to adhere to standing principles support his claim here. First, although a sole

proprietorship is treated as identical to the individual who created it, the converse is not

necessarily true. Not every individual does business as a sole proprietor, and in many

regulatory contexts the individual must actually establish himself as a sole proprietor to

fall within a measure’s reach. See, e.g., Injured Workers’ Ins. Fund v. Orient Exp. Delivery

Serv., Inc., 190 Md. App. 438, 458 (2010) (stating, in the employment context, that

“[w]hether an individual is a sole proprietor is a question depending on the specific

circumstances of each case”). As discussed in the Governor’s motion, the Executive Order

is such a measure, as it was crafted specifically to exclude individuals from its reach. ECF

9-1 at 7-10. Although Mr. Ali now claims that he “intends to bid on contracts as a sole

proprietor,” Opp. at 4, his complaint contains no such allegation.1

       Even if Mr. Ali were to amend his complaint to include such an allegation, doing so

would not eliminate the need for him to submit a bid to have standing to challenge the

Executive Order. See ECF 9-1 at 10-11. The Order’s certification requirement does not,



       1
        The portions of the complaint to which Mr. Ali cites in support of this assertion—
¶¶ 39 and 40—contain no allegation that he “trades as” or “does business as” a sole
proprietor.

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as he argues, Opp. at 5, change that result. Yes, the certification required under the

Executive Order does not use the term “business entities” and thus, if taken out of context,

could be read to encompass individual bidders as well as those who trade under the name

of a sole proprietorship.2 But even if read that way, the certification does not require that

bidders certify that they do not participate in a boycott of Israel in the way that Mr. Ali

alleges that he participates in the BDS movement. See, e.g., Opp. at 2 (describing his

refusal to purchase “Sabra hummus and SodaStream products”); Compl., ECF-1, ¶35

(same). Instead, the certification requires bidders to certify that they have not discriminated

against Israelis and Israeli companies in the formation of their bids:

       The undersigned bidder hereby certifies and agrees that the following
       information is correct: In preparing its bid on this project, the bidder has
       considered all proposals submitted from qualified, potential subcontractors
       and suppliers, and has not, in the solicitation, selection, or commercial
       treatment of any subcontractor, vendor, or supplier, refused to transact or
       terminated business activities, or taken other actions intended to limit
       commercial relations, with a person or entity on the basis of Israeli national
       origin, or residence or incorporation in Israel and its territories.

E.O. at 3 (¶C) (emphasis added).3 Mr. Ali has not alleged in any way that he intends to

discriminate against Israelis and Israeli companies in the formation of his bid, and it seems

unlikely that he would, given that the computer-programming contracts in which he alleges


       2
         Read within the larger context of the Executive Order, the certification applies
only to those “business entities” that are subject to the Order’s more general prohibition.
See Equal Employment Opportunity Comm’n v. Baltimore County, 904 F.3d 330, 333 (4th
Cir. 2018) (stating that “[w]e do not . . . construe statutory phrases in isolation; we read
statutes as a whole’” (quoting Ayes v. U.S. Dep’t of Veterans Affairs, 473 F.3d 104, 108
(4th Cir. 2006)).
       3
        Mr. Ali omits the italicized language from his quotation of the certification that
appears on pages 5-6 of his opposition.

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an interest would not seem to require subcontractors or suppliers, let alone overseas

subcontractors or suppliers. It is thus not the case that Mr. Ali “cannot bid on these

contracts,” Opp. at 5, without having to lie.

       Nor is this like those cases that allow pre-enforcement review of criminal laws on

the grounds that a plaintiff “‘should not be required to await and undergo a criminal

prosecution as the sole means of seeking relief.’” Holder v. Humanitarian Law Project,

561 U.S. 1, 15 (2010) (quoting Babbitt v. Farm Workers, 442 U.S. 289, 298 (1979)); see

Opp. at 6 (arguing that requiring Mr. Ali to submit a bid to ripen his claim here would

“potentially subject [him] to civil or criminal penalties”). As one court put it in a related

Israel boycott case, “[t]his isn’t a case where Plaintiffs would be exposed to criminal

prosecution or civil penalties if they were . . . presented . . . with a state contracting

opportunity conditioned on their execution of a no-boycott clause and refused to execute

it. In that circumstance, if they were denied the contract, they could simply file another

lawsuit.” American Muslims for Palestine v. Arizona State Univ., No. CV-18-00670-PHX-

DWL, 2018 WL 6250474, at *8 (D. Ariz. Nov. 29, 2018).

       Finally, the futility exception to the Article III standing requirement does not apply

here for several reasons. First off, the cases that Mr. Ali cites for the proposition plainly

do not describe his situation. In Image Carrier Corp. v. Beane, it was “obvious” that the

plaintiff non-union printing businesses were injured by the requirement that the

municipality only contract with union businesses, 567 F.2d 1197, 1202 (2d Cir. 1977), and

in LeClerc v. Webb, there was “no reason” to believe that any of the “nonimmigrant alien”

plaintiffs would be admitted to the Louisiana bar when some had already been denied under

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a provision prohibiting “nonimmigrant aliens” from bar admission, 419 F.3d 405, 414 (5th

Cir. 2005). In contrast to those cases, it is far from obvious that Mr. Ali would not be able

to submit a bid here. And requiring that he submit a bid would give the State agency to

which he submitted it the opportunity to determine whether the Order’s restrictions apply

to his bid, which would itself depend on what his bid includes and the capacity in which

he submits it. See Madsen v. Boise State Univ., 976 F.2d 1219, 1221 (9th Cir. 1992)

(requiring a party “to have actually confronted the policy he now challenges in court”

establishes a “well-defined controversy between the parties”); Baker v. Carr, 369 U.S. 186,

204 (1962) (observing that one objective of standing is to “sharpen[] the presentation of

issues upon which the court so largely depends for illumination of difficult constitutional

questions”).

       In requiring Mr. Ali to pursue a solicitation before bringing suit, the Court would

not be asking Mr. Ali to do anything more than what the plaintiffs in the other Israel boycott

cases he relies on have done. See Koontz v. Watson, 283 F. Supp. 3d 1007, 1014 (D. Kan.

2018); Jordahl v. Brnovich, 336 F. Supp. 3d 1016, 1029 (D. Ariz. 2018). And requiring

that Mr. Ali submit a bid has the added advantage of identifying the State agency that

would have the “special relation” to enforcement of the Executive Order to justify invoking

the Ex parte Young exception to the bar of sovereign immunity, as occurred in all three

other Israel boycott cases. See Koontz, 283 F. Supp. 3d at 1014 n.3 (Kansas Commissioner

of Education); Jordahl, 336 F. Supp. 3d at 1029 (local sheriff and “various members of the




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Coconino County Jail District Board”);4 Arkansas Times LP v. Waldrip, No. 4:18-CV-

00914 BSM, 2019 WL 580669 (E.D. Ark., Jan. 23, 2019) (trustees of the University of

Arkansas system). Doing so is especially important here, where neither of the state

officials Mr. Ali sues—the Governor and the Attorney General—has the requisite “special

relation” to enforcement of the procurement rules that the Order relates to.

II.    THE GOVERNOR LACKS THE “SPECIAL RELATION” TO ENFORCEMENT OF
       THE EXECUTIVE ORDER REQUIRED FOR THIS COURT’S SUBJECT MATTER
       JURISDICTION UNDER EX PARTE YOUNG.

       As discussed in the Governor’s motion to dismiss, the focus of the Ex parte Young

analysis is on the state official’s “special relation” to enforcement of the challenged act,

not his relationship to its enactment. That is why legislators and governors are not proper

defendants in cases challenging the constitutionality of state laws, despite having passed

and signed those laws, respectively. See, e.g., Wright v. North Carolina, 787 F.3d 256,

262 (4th Cir. 2015) (members of the North Carolina’s General Assembly not proper

defendants under Ex parte Young because the Legislature had “no ability to enforce any of

the laws it passes”); Waste Management Holdings, Inc. v. Gilmore, 252 F.3d 316, 331 (4th

Cir. 2001) (dismissing Virginia Governor, despite his “general duty to enforce the laws of

Virginia,” as he “lacks a specific duty to enforce the challenged statutes”).

       Although two of the cases that Mr. Ali cites bear some resemblance to this one,

neither is from the Fourth Circuit, and both are distinguishable in that they involve directly

enforceable gubernatorial action that did not involve an intervening bidding or application


       4
        As discussed in the Attorney General Frosh’s Reply at 5, the plaintiffs in Jordahl
also named the Arizona Attorney General as a defendant.

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process. See AFSCME Council 79 v. Scott, 278 F.R.D. 664 (S.D. Fla. 2011) (concluding

that the Governor of Florida was an appropriate defendant in a challenge to executive order

requiring mandatory drug-testing of all state employees); Duke Energy Trading &

Marketing, L.L.C. v. Davis, 267 F.3d 1042 (9th Cir. 2001) (concluding that the Governor

of California was an appropriate defendant in case challenging executive order

“commandeering” electricity contracts).

       The third case—Connor B. ex rel. Vigurs v. Patrick, 771 F. Supp. 2d 142 (D. Mass.

2011)—cannot be squared with the Fourth Circuit’s pronouncements in this area, which

warn against allowing federal suits against the Governor on the grounds that he has general

supervisory authority over Executive Branch officials. See Gilmore, 252 F.3d at 351-52

(dismissing Governor under Ex parte under Ex parte Young over dissent’s objection that

he had “direct authority” over other state officials involved); compare Connor B., 771 F.

Supp. 2d at 159 (Governor’s “direct supervisory authority” over the defendant state

officials who actually administered the challenged child welfare measures sufficient for Ex

parte Young even though he had only a “detached, supervisory role”). Ultimately, the fact

that the “Governor issued, and may unilaterally revoke” the Executive Order, Opp. at 7,

says nothing about how the Order is enforced, which is what Ex parte Young requires. See,

e.g., 209 U.S. 123, 155-56 (1908) (limiting rule to “officers of the state [who] are clothed

with some duty in regard to the enforcement of the laws of the state, and who threaten and

are about to commence proceedings . . . to enforce”).

       Within the context of the procurement processes affected by the Executive Order,

the State agencies that seek to procure goods and services are the ones to initially enforce

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the Order’s terms, not the Governor himself. And because the discrimination that the

Executive Order prohibits is but “one form of national-origin discrimination” that is also

prohibited under Maryland’s Commercial Nondiscrimination Policy, Opp. at 15, the

Commission on Civil Rights, not the Governor, would be responsible for taking action

against Mr. Ali if he falsely certified that he did not discriminate on the basis of national

origin. State Fin. & Proc. § 19-107(a). Depending on how Mr. Ali proceeded with respect

to the submission of his bids, one or more of these agencies might have a sufficiently

“special” enforcement role to justify a suit against them under Ex parte Young. The

Governor, however, does not.5

III.   THE EXECUTIVE ORDER DOES NOT VIOLATE THE FIRST AMENDMENT.

       Mr. Ali continues to argue that NAACP v. Claiborne Hardware Co., 458 U.S. 886

(1982), controls and that his decision not to purchase Sabra hummus, SodaStream products,

or other goods produced in Israel is no different from the marching, protesting, and

picketing involved in the civil-rights-era boycott at issue in that case.        The critical

difference between the two, of course, is that the boycott targeted in Claiborne involved

“pure speech,” whereas the boycott at issue here does not. Mr. Ali is free to march against

Israeli policies, protest the choices made by Israeli companies, or speak out in criticism of

Israelis for their role in their government’s actions.


       5
         Papasan v. Allain, 478 U.S. 265 (1986), is not to the contrary. It did not involve
the Governor of Mississippi, but a lower-level official who supervised and was responsible
for the administration of the challenged distribution of public school funds. Id. at 282 n.14.
The other two cases Mr. Ali cites—Mobil Oil Corp. v. Attorney Gen. of Com. of Virginia,
940 F.2d 73 (4th Cir. 1991), and Virginia v. American Booksellers Ass’n, Inc., 484 U.S.
383 (1988)—are standing cases do not apply Ex parte Young or even mention it.

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       That critical difference is why this case is instead controlled by Rumsfeld v. FAIR,

547 U.S. 47 (2006), which unanimously held that—when stripped of its accompanying

speech—the disassociative conduct that defines a boycott does not itself involve speech or

expressive conduct. That the Court in FAIR did not use the word “boycott” does not detract

from its analytical force, and the fact that it did not feel the need to distinguish Claiborne,

Opp. at 22, does not mean that it “overrule[d]” or “abrogate[d]” its earlier decision.

Claiborne is principally and historically a civil rights case, not a case about discriminatory

commercial boycotts, and not until Koontz and Jordahl had it been (erroneously) applied

as such. See, e.g., Burt v. Gates, 502 F.3d 183, 192 (2d Cir. 2007) (concluding that FAIR,

and not Claiborne, controlled application of Solomon Amendment to “boycott” of military

recruiters, and rejecting First Amendment challenge when the law school was not required

“to associate with the military” and remained “free to disassociate themselves from the

recruiters by words and deeds”); see also Arkansas Times, 2019 WL 580669 *5-7

(following FAIR and distinguishing Claiborne); Jordahl, 336 F. Supp. 3d at 1042 (agreeing

that “the decision not to buy a particular brand of printer to show support for a political

position . . . may not be deserving of First Amendment protections on the grounds that such

action is typically only expressive when explanatory speech accompanies it”).

       Nor does Claiborne “enshrine[] First Amendment protection for politically-

motivated boycotts into law,” as Mr. Ali claims. Opp. at 13. In fact, just six years after it

decided the case, the Court declined to extend Claiborne to boycotts that involve

“commercial activity with a political impact.” Allied Tube & Conduit Corp. v. Indian

Head, Inc., 486 U.S. 492, 507-08 (1988). And in the very same year, the Court upheld the

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prohibition of a boycott of Soviet goods, which the Court described as “not a labor dispute

with a primary employer but a political dispute with a foreign nation.” International

Longshoremen Ass’n, AFL-CIO v. Allied Int’l, Inc., 456 U.S. 212, 224 (1982). Lower

courts too have declined to extend Claiborne from its civil rights context. In addition to

the district court in Arkansas Times, the Second Circuit found Claiborne “readily

distinguishable” from boycotts, like the one here, that seek “to achieve an objective

prohibited by valid state and federal [anti-discrimination] statutes.” Jews for Jesus, Inc. v.

Jewish Community Relations Council of New York, Inc., 968 F.2d 286, 297 (2d Cir. 1992).

That Mr. Ali believes his purchasing decisions have a political component does not take

them out of the FAIR analytical framework or place them under Claiborne.

       But even if FAIR did not control and the Executive Order did burden speech, the

Order would still pass constitutional muster just as antidiscrimination measures

everywhere do. Mr. Ali concedes that “content-neutral antidiscrimination laws may

incidentally regulate expressive conduct because they are narrowly tailored to serve a

compelling state interest,” Opp. at 15, namely, the state’s interest in restraining “acts of

invidious discrimination in the distribution of publicly available goods, services, and other

advantages.” Jaycees, 468 U.S. at 628. Even though national-origin discrimination and

other forms of invidious private discrimination “may be characterized”—as Mr. Ali does

here—“as a form of exercising freedom of association protected by the First Amendment,”

Norwood v. Harrison, 413 U.S. 455, 470 (1973), the state may put in place measures to

prevent them because they “cause unique evils that government has a compelling interest

to prevent—wholly apart from the point of view such conduct may transmit.” Jaycees, 468

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U.S. at 628. Mr. Ali does not dispute this. According to Mr. Ali, what sets the Executive

Order apart from more general antidiscrimination laws is its specific focus on preventing

discrimination against Israel.6 That specific focus on discrimination against Israelis, he

argues, renders the Order both content- and viewpoint-based. Opp. at 15.

       The Supreme Court, however, has rejected the notion that a measure’s focus on one

aspect of a larger problem renders it content-based. In McCullen v. Coakley, the Court

upheld the constitutionality of a Massachusetts measure that created “buffer zones” around

abortion clinics for the purpose of ensuring public safety and unobstructed passage along

public sidewalks and roadways. 573 U.S. at 480. The Court acknowledged that the

measure had “the ‘inevitable effect’ of restricting abortion-related speech more than speech

on other subjects,” id., but rejected the challengers’ argument that, by choosing to pursue

its legitimate interests “‘only at abortion clinics,’” Massachusetts “‘single[s] out for

regulation speech about one particular topic: abortion,’” id. at 481 (citation omitted).

       As the Court explained, courts “cannot infer” a content- or viewpoint-based purpose

“from the Act’s limited scope.” Id. Although the “broad reach of a statute can help confirm



       6
          In making this point, Mr. Ali states that he “remains free . . . to economically
boycott” Palestine, Saudi Arabia, or Iraq. Opp. at 15. As explained in the Governor’s
motion—but consistently ignored by Mr. Ali—the Executive Order specifically excludes
from its reach boycotts directed at “a public or governmental entity,” E.O. at 2 (¶A.1.iv),
so Mr. Ali is free to boycott Israel itself to the same degree that he could boycott Palestine,
Saudi Arabia, Iraq, or any other government, so long as he does not run afoul of federal
restrictions on such boycotts. See 50 U.S.C. § 4842(a)(1) (prohibiting support for “any
boycott fostered or imposed by any foreign country, against a [friendly] country”). But if
Mr. Ali means to say that he is free to economically boycott Palestinians or Saudi Arabians,
he is mistaken; Maryland law prohibits all forms of commercial national-origin
discrimination.

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that it was not enacted to burden a narrower category of disfavored speech,” the converse

is not true. Id. “‘States adopt laws to address the problems that confront them. The First

Amendment does not require States to regulate for problems that do not exist.’” Id.

(quoting Burson v. Freeman, 504 U.S. 191, 207 (1992) (plurality opinion)). Just as the

Massachusetts Legislature did not violate the First Amendment by acting “in response to a

problem that was, in its experience, limited to abortion clinics,” id. at 482, the Governor

does not do so by acting in response to a particular form of national-origin discrimination

that, through the efforts of the BDS movement, appears to have become a wider problem

in recent years.

       Nor does the fact that the Executive Order excludes from its reach boycotts “for

business or economic reasons” render it content- or viewpoint-based, as Mr. Ali appears to

argue. Opp. at 14. That exclusion only demonstrates that the Governor tailored the Order’s

effect to boycotts entered into for discriminatory purposes, as opposed to for economic

reasons or “because of the specific conduct” of the boycotted person or entity. E.O. at 2

(¶A.1). Even when a measure regulates speech—which the Order does not—that tailored

approach is permissible.     “When selecting among various options for combating a

particular problem, legislatures should be encouraged to choose the one that restricts less

speech, not more.” McCullen, 573 U.S. at 482.

       Mr. Ali’s arguments to the contrary—that the Executive Order is otherwise “not

content neutral” and “distinguish[es] between prohibited and permitted activity on the basis

of viewpoint,” Opp. at 15, 16—are plainly not true. The Order prohibits all boycotts of

Israelis, regardless of the motivation or the message the boycotters might think they are

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sending by declining purchase consumer goods produced in Israel. It applies equally to

people who believe that Israel ought to abandon its settlements in Palestine, as to people

who believe that Israel ought to be expanding its settlements. The viewpoint of the

boycotter does not matter; the Order targets only the discriminatory commercial effect of

the boycott itself.7

       For the same reason, the Executive Order, like antidiscrimination laws generally,

also survives immediate scrutiny under United States v. O’Brien, 391 U.S. 367 (1968), for

regulating expressive conduct.       The Order is neither “aimed at” nor “impinge[s]

unnecessarily on” the conduct’s “expressive element,” D.G. Restaurant Corp. v. City of

Myrtle Beach, 953 F.2d 140, 144 (4th Cir. 1991), because it exempts boycotts against Israel

itself and boycotts against Israelis or Israeli companies because of their “specific conduct.”

E.O. at 2 (¶A.1). The only boycotts it restricts are those that are imposed on Israelis and

Israeli companies simply because they are Israeli, which is the type of national-origin

discrimination that all antidiscrimination measures restrict. If, as Mr. Ali seems to argue,

national-origin discrimination “expresses a viewpoint” that the government cannot

regulate, Opp. at 21, all those other antidiscrimination measures must fall as well, which is



       7
          The two cases Mr. Ali cites to support his argument are fundamentally
distinguishable, as both are “forced access” parade cases involving the application of
antidiscrimination measures to compel a group to associate with people they find
objectionable, and to do so in a way that affects the message their parades were meant to
convey. See Opp. at 16 (citing Invisible Empire of the KKK v. Thurmont, 700 F. Supp. 281
 (D. Md. 1988) (antidiscrimination measure could not be applied to force Ku Klux Klan to
allow African Americans to march in parade), and Board of Ancient Order of Hibernians
v. Dinkins, 814 F. Supp. 358 (S.D.N.Y. 1993) (same principle applied to conservative
Catholic order and its right to exclude gay rights organization from its parade)).

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a conclusion that cannot be squared with decades of Supreme Court precedents. See

Jaycees, 468 U.S. 609; Hishon v. King & Spalding, 467 U.S. 69, 78 (1984) (sex-based

discrimination); Runyon v. McCrary, 427 U.S. 160, 176 (1976) (race). Those precedents

establish that “federal and state antidiscrimination laws . . . [are] permissible content-

neutral regulation[s] of conduct.” Wisconsin v. Mitchell, 508 U.S. 476, 487 (1993).

       In other respects, Mr. Ali’s arguments do not substantively rebut the point, made in

the Governor’s opening memorandum, that the State is not obligated to subsidize Mr. Ali’s

discriminatory behavior and is free to pursue its own public policy goals through its

procurement practices. See ECF 9-1 at 32-35. Although Mr. Ali is correct that the

subsidies cases the Governor cited are (of course) not government contracting cases, the

same principles of deference to governmental policies are at play in both contexts. The

case Mr. Ali relies on to the contrary—Board of County Commissioners, Wabaunsee

County, Kan. v. Umbehr, 518 U.S. 668 (1996), Opp. at 17—makes this point expressly.

       Umbehr concluded that an independent government contractor who had a recurring

contract with the county had a sufficient interest in that contract to support a suit alleging

that he was denied the contract based on his criticism of County officials. 8 In describing


       8
         Although Mr. Ali does not exactly claim otherwise, the rule adopted in Umbehr
would not benefit him, as the Court limited its holding to suits by independent contractors
who have a “pre-existing commercial relationship” with the government, and not “suits by
bidders or applicants for new government contracts who cannot rely on such a
relationship.” Umbehr, 518 U.S. at 685. Courts applying Umbehr have hewed closely to
the limitations of its holding and have declined to extend First Amendment protections to
bidders and applicants who lack an ongoing commercial relationship with the government.
See, e.g., McClintock v. Eichelberger, 169 F.3d 812, 816 (3d Cir. 1999) (fact that plaintiff
had “two prior contracts . . . for discrete services” not enough to form a “pre-existing
commercial relationship with the government” under Umbehr). Here, Mr. Ali does not
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how lower courts must apply in the government contractor context the balancing test

applicable to government employees under Pickering v. Board of Ed. of Township High

School Dist. 205, Will County, 391 U.S. 563 (1968), the Court stated that “[d]eference

is . . . due to the government’s reasonable assessments of its interests as contractor,”

because when the government “exercise[s] contractual power,” “its interests as a public

service provider, including its interest in being free from intensive judicial supervision of

its daily management functions, are potentially implicated.” Umbehr, 518 U.S. at 678; see

also id. at 676 (noting the government’s “significant” interest “in achieving its goals as

effectively and efficiently as possible”).    The deference due the government in the

procurement context reflects the fact that “States may fairly claim some measure of a

sovereign interest in retaining freedom to decide how, with whom, and for whose benefit

to deal.” Reeves, Inc. v. Stake, 447 U.S. 429, 438 n.10 (1980).

       Finally, Mr. Ali ends his opposition with two arguments that he claims prevents

dismissal of his claims.9 Opp. at 25-26. Neither merits much discussion. The certification

requirement of the Executive Order no more “compels speech” than do the certification




allege that he has formed a “pre-existing commercial relationship” with the State sufficient
to fall within the rule of Umbehr.
       9
          That the Governor’s motion to dismiss did not address Mr. Ali’s compelled
speech, vagueness, and overbreadth theories expressly is of no moment when the motion
sought dismissal principally on the grounds that Mr. Ali’s purchasing decisions do not
implicate the First Amendment at all. But even if that were not the case, “‘[t]he district
court has the power to dismiss a complaint sua sponte for failure to state a claim,’ so long
as the plaintiff is given notice and ‘an opportunity to be heard.’” Wachtler v. County of
Herkimer, 35 F.3d 77, 82 (2d Cir. 1994) (citations omitted); see also Eriline Co. S.A. v.
Johnson, 440 F.3d 648, 655 n.10 (4th Cir. 2006) (citing Wachtler).

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requirements used to ensure compliance with general nondiscrimination provisions, which

Mr. Ali presumably does not object to.         And the Supreme Court in FAIR upheld

requirements, like this one, that are “plainly incidental” to a measure’s “regulation of

conduct.” 547 U.S. at 62. The submission of a certification to the government to

demonstrate eligibility for a government program no more compels speech than do

application materials more generally and is “a far cry from the compelled speech” that the

Supreme Court previously has found to be unconstitutional. Id. (citing West Va. Bd. of Ed.

v. Barnette, 319 U.S. 624, 642 (1943) (striking down state law requiring schoolchildren to

recite the Pledge of Allegiance and to salute the flag), and Wooley v. Maynard, 430 U.S.

705, 717 (1977) (striking down requirement that New Hampshire motorists display the

state motto—“Live Free or Die”—on their license plates); see also Pacific Gas & Elec.

Co. v. Public Util. Comm’n of Cal., 475 U.S. 1, 20-21 (1986) (state agency cannot require

a utility company to include a third-party newsletter in its billing envelope); Miami Herald

Publishing Co. v. Tornillo, 418 U.S. 241, 258 (1974) (right-of-reply statute violates editors’

right to determine the content of their newspapers). Nor is there any compulsion here at

all. As the Supreme Court stated in a case relied on by Mr. Ali, “if a party objects to a

condition on the receipt of [government] funding, its recourse is to decline the funds. This

remains true when the objection is that a condition may affect the recipient’s exercise of

its First Amendment rights.” Agency for Int’l Dev. v. Alliance for Open Soc’y Int’l, Inc.,

570 U.S. 203, 214 (2013).

       Nor is the Order vague. It is clearly applicable only to commercial conduct and

expressly excludes actions—like Mr. Ali’s BDS advocacy—“that are not commercial in

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nature.” E.O. at 2 (¶ A.1.i). It chills only “one form of national-origin discrimination,”

Opp. at 15, not Mr. Ali’s speech, expression, or association. As for overbreadth, the Order

is limited to “artificial” entities, and the certification requirement is limited to

discrimination in the preparation of the bid itself, and thus does not encompass

participation in boycotts more generally, as Mr. Ali claims. Opp. at 26. The “overbreadth

doctrine is not casually employed,” and its “limited” function “attenuates” as the target of

the regulation—as here—“moves from ‘pure speech’ toward conduct.” Los Angeles Police

Dep’t v. United Reporting Pub. Corp., 528 U.S. 32, 39-40 (1999) (internal quotation marks

omitted). It has no application to the Executive Order, which, through its exclusions,

focuses specifically on discriminatory conduct that is otherwise prohibited by law.

                                     CONCLUSION

       Mr. Ali’s complaint should be dismissed.

                                                  Respectfully submitted,

                                                  BRIAN E. FROSH
                                                  Attorney General of Maryland

                                                  /s/ Adam D. Snyder
                                                  ___________________________
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                                                  Hogan, Governor of Maryland

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                            CERTIFICATE OF SERVICE

       I hereby certify that on April 8, 2019, the foregoing document was filed with the
Clerk of the Court and served on all counsel of record electronically through the Court’s
CM/ECF system.

                                           /s/ Adam D. Snyder
                                         Adam D. Snyder
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                           Attachment C.                Bid/Proposal Affidavit
A.       AUTHORITY
       I hereby affirm that I, ___________________________ (name of affiant) am the
       __________________________            (title)    and     duly     authorized      representative of
       __________________________________ (name of business entity) and that I possess the legal
       authority to make this affidavit on behalf of the business for which I am acting.
B.       CERTIFICATION REGARDING COMMERCIAL NONDISCRIMINATION
       The undersigned Bidder/Offeror hereby certifies and agrees that the following information is
       correct: In preparing its Bid/proposal on this project, the Bidder/Offeror has considered all
       Bid/proposals submitted from qualified, potential subcontractors and suppliers, and has not engaged
       in “discrimination” as defined in § 19-103 of the State Finance and Procurement Article of the
       Annotated Code of Maryland. “Discrimination” means any disadvantage, difference, distinction, or
       preference in the solicitation, selection, hiring, or commercial treatment of a vendor, subcontractor,
       or commercial customer on the basis of race, color, religion, ancestry, or national origin, sex, age,
       marital status, sexual orientation, sexual identity, genetic information or an individual’s refusal to
       submit to a genetic test or make available the results of a genetic test, disability, or any otherwise
       unlawful use of characteristics regarding the vendor’s, supplier’s, or commercial customer’s
       employees or owners. “Discrimination” also includes retaliating against any person or other entity
       for reporting any incident of “discrimination”. Without limiting any other provision of the
       solicitation on this project, it is understood that, if the certification is false, such false certification
       constitutes grounds for the State to reject the Bid/proposal submitted by the Bidder/Offeror on this
       project, and terminate any contract awarded based on the Bid/proposal. As part of its Bid/proposal,
       the Bidder/Offeror herewith submits a list of all instances within the past four (4) years where there
       has been a final adjudicated determination in a legal or administrative proceeding in the State of
       Maryland that the Bidder/Offeror discriminated against subcontractors, vendors, suppliers, or
       commercial customers, and a description of the status or resolution of that determination, including
       any remedial action taken. Bidder/Offeror agrees to comply in all respects with the State’s
       Commercial Nondiscrimination Policy as described under Title 19 of the State Finance and
       Procurement Article of the Annotated Code of Maryland.
B-1.     CERTIFICATION REGARDING MINORITY BUSINESS ENTERPRISES.
       The undersigned Bidder/Offeror hereby certifies and agrees that it has fully complied with the State
       Minority Business Enterprise Law, State Finance and Procurement Article, § 14-308(a)(2),
       Annotated Code of Maryland, which provides that, except as otherwise provided by law, a
       contractor may not identify a certified minority business enterprise in a Bid/proposal and:
        (1)   Fail to request, receive, or otherwise obtain authorization from the certified minority business
              enterprise to identify the certified minority bid/proposal;
        (2)   Fail to notify the certified minority business enterprise before execution of the contract of its
              inclusion in the Bid/proposal;
        (3)   Fail to use the certified minority business enterprise in the performance of the contract; or
        (4)   Pay the certified minority business enterprise solely for the use of its name in the
              Bid/proposal.
       Without limiting any other provision of the solicitation on this project, it is understood that if the
       certification is false, such false certification constitutes grounds for the State to reject the



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      Bid/proposal submitted by the Bidder/Offeror on this project, and terminate any contract awarded
      based on the Bid/proposal.
B-2. CERTIFICATION                 REGARDING           VETERAN-OWNED                SMALL         BUSINESS
ENTERPRISES.
      The undersigned Bidder/Offeror hereby certifies and agrees that it has fully complied with the State
      veteran-owned small business enterprise law, State Finance and Procurement Article, § 14-605,
      Annotated Code of Maryland, which provides that a person may not:
     (1)   Knowingly and with intent to defraud, fraudulently obtain, attempt to obtain, or aid another
           person in fraudulently obtaining or attempting to obtain public money, procurement contracts, or
           funds expended under a procurement contract to which the person is not entitled under this title;
     (2)   Knowingly and with intent to defraud, fraudulently represent participation of a veteran-owned
           small business enterprise in order to obtain or retain a Bid/proposal preference or a procurement
           contract;
     (3)   Willfully and knowingly make or subscribe to any statement, declaration, or other document that
           is fraudulent or false as to any material matter, whether or not that falsity or fraud is committed
           with the knowledge or consent of the person authorized or required to present the declaration,
           statement, or document;
     (4)   Willfully and knowingly aid, assist in, procure, counsel, or advise the preparation or presentation
           of a declaration, statement, or other document that is fraudulent or false as to any material
           matter, regardless of whether that falsity or fraud is committed with the knowledge or consent of
           the person authorized or required to present the declaration, statement, or document;
     (5)   Willfully and knowingly fail to file any declaration or notice with the unit that is required by
           COMAR 21.11.13; or
     (6)   Establish, knowingly aid in the establishment of, or exercise control over a business found to
           have violated a provision of § B-2(1) -(5) of this regulation.
C.         AFFIRMATION REGARDING BRIBERY CONVICTIONS
      I FURTHER AFFIRM THAT:
      Neither I, nor to the best of my knowledge, information, and belief, the above business (as is defined
      in Section 16-101(b) of the State Finance and Procurement Article of the Annotated Code of
      Maryland), or any of its officers, directors, partners, controlling stockholders, or any of its
      employees directly involved in the business’s contracting activities including obtaining or
      performing contracts with public bodies has been convicted of, or has had probation before
      judgment imposed pursuant to Criminal Procedure Article, § 6-220, Annotated Code of Maryland,
      or has pleaded nolo contendere to a charge of, bribery, attempted bribery, or conspiracy to bribe in
      violation of Maryland law, or of the law of any other state or federal law, except as follows (indicate
      the reasons why the affirmation cannot be given and list any conviction, plea, or imposition of
      probation before judgment with the date, court, official or administrative body, the sentence or
      disposition, the name(s) of person(s) involved, and their current positions and responsibilities with
      the business):
      ____________________________________________________________
      ____________________________________________________________




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D.          AFFIRMATION REGARDING OTHER CONVICTIONS
      I FURTHER AFFIRM THAT:
      Neither I, nor to the best of my knowledge, information, and belief, the above business, or any of its
      officers, directors, partners, controlling stockholders, or any of its employees directly involved in the
      business’s contracting activities including obtaining or performing contracts with public bodies, has:
     (1)     Been convicted under state or federal statute of:
           (a)   A criminal offense incident to obtaining, attempting to obtain, or performing a public or
                 private contract; or
           (b)   Fraud, embezzlement, theft, forgery, falsification or destruction of records or receiving stolen
                 property;
     (2)     Been convicted of any criminal violation of a state or federal antitrust statute;
     (3)     Been convicted under the provisions of Title 18 of the United States Code for violation of the
             Racketeer Influenced and Corrupt Organization Act, 18 U.S.C. § 1961 et seq., or the Mail Fraud
             Act, 18 U.S.C. § 1341 et seq., for acts in connection with the submission of Bids/Proposals for a
             public or private contract;
     (4)     Been convicted of a violation of the State Minority Business Enterprise Law, § 14-308 of the
             State Finance and Procurement Article of the Annotated Code of Maryland;
     (5)     Been convicted of a violation of § 11-205.1 of the State Finance and Procurement Article of the
             Annotated Code of Maryland;
     (6)     Been convicted of conspiracy to commit any act or omission that would constitute grounds for
             conviction or liability under any law or statute described in subsections (1)— (5) above;
     (7)     Been found civilly liable under a state or federal antitrust statute for acts or omissions in
             connection with the submission of Bids/Proposals for a public or private contract;
     (8)     Been found in a final adjudicated decision to have violated the Commercial Nondiscrimination
             Policy under Title 19 of the State Finance and Procurement Article of the Annotated Code of
             Maryland with regard to a public or private contract;
     (9)     Been convicted of a violation of one or more of the following provisions of the Internal Revenue
             Code:
           (a)   §7201, Attempt to Evade or Defeat Tax;
           (b)   §7203, Willful Failure to File Return, Supply Information, or Pay Tax,
           (c)   §7205, Fraudulent Withholding Exemption Certificate or Failure to Supply Information;
           (d)   §7206, Fraud and False Statements, or
           (e)   §7207 Fraudulent Returns, Statements, or Other Documents;
     (10) Been convicted of a violation of 18 U.S.C. §286 Conspiracy to Defraud the Government with
          Respect to Claims, 18 U.S.C. §287, False, Fictitious, or Fraudulent Claims, or 18 U.S.C. §371,
          Conspiracy to Defraud the United States;
     (11) Been convicted of a violation of the Tax-General Article, Title 13, Subtitle 7 or Subtitle 10,
          Annotated Code of Maryland;
     (12) Been found to have willfully or knowingly violated State Prevailing Wage Laws as provided in
          the State Finance and Procurement Article, Title 17, Subtitle 2, Annotated Code of Maryland, if:



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        (a)   A court:
                 (i) Made the finding; and
                 (ii) Decision became final; or
        (b)   The finding was:
                 (i) Made in a contested case under the Maryland Administrative Procedure act; and
                 (ii) Not overturned on judicial review;
     (13) Been found to have willfully or knowingly violated State Living Wage Laws as provided in the
          State Finance and Procurement Article, Title 18, Annotated Code of Maryland, if:
        (a)   A court:
                 (i) Made the finding; and
                 (ii) Decision became final; or
        (b)   The finding was:
                 (i) Made in a contested case under the Maryland Administrative Procedure act; and
                 (ii) Not overturned on judicial review;
     (14) Been found to have willfully or knowingly violated the Labor and Employment Article, Title 3,
          Subtitles 3, 4, or 5, or Title 5, Annotated Code of Maryland, if:
        (a)   A court:
                 (i) Made the finding; and
                 (ii) Decision became final; or
        (b)   The finding was:
                 (i) Made in a contested case under the Maryland Administrative Procedure act; and
                 (ii) Not overturned on judicial review; or
     (15) Admitted in writing or under oath, during the course of an official investigation or other
          proceedings, acts or omissions that would constitute grounds for conviction or liability under
          any law or statute described in §§ B and C and subsections D(1)—(14) above, except as follows
          (indicate reasons why the affirmations cannot be given, and list any conviction, plea, or
          imposition of probation before judgment with the date, court, official or administrative body, the
          sentence or disposition, the name(s) of the person(s) involved and their current positions and
          responsibilities with the business, and the status of any debarment):
      ____________________________________________________________
         ____________________________________________________________
E.       AFFIRMATION REGARDING DEBARMENT
      I FURTHER AFFIRM THAT:
      Neither I, nor to the best of my knowledge, information, and belief, the above business, or any of its
      officers, directors, partners, controlling stockholders, or any of its employees directly involved in the
      business’s contracting activities, including obtaining or performing contracts with public bodies, has
      ever been suspended or debarred (including being issued a limited denial of participation) by any
      public entity, except as follows (list each debarment or suspension providing the dates of the
      suspension or debarment, the name of the public entity and the status of the proceedings, the


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      name(s) of the person(s) involved and their current positions and responsibilities with the business,
      the grounds of the debarment or suspension, and the details of each person’s involvement in any
      activity that formed the grounds of the debarment or suspension).
      ____________________________________________________________
      ____________________________________________________________
F.         AFFIRMATION REGARDING DEBARMENT OF RELATED ENTITIES
      I FURTHER AFFIRM THAT:
     (1)   The business was not established and does not operate in a manner designed to evade the
           application of or defeat the purpose of debarment pursuant to Sections 16-101, et seq., of the
           State Finance and Procurement Article of the Annotated Code of Maryland; and
     (2)   The business is not a successor, assignee, subsidiary, or affiliate of a suspended or debarred
           business, except as follows (you must indicate the reasons why the affirmations cannot be given
           without qualification):
      ____________________________________________________________
      ____________________________________________________________
G.         SUBCONTRACT AFFIRMATION
      I FURTHER AFFIRM THAT:
      Neither I, nor to the best of my knowledge, information, and belief, the above business, has
      knowingly entered into a contract with a public body under which a person debarred or suspended
      under Title 16 of the State Finance and Procurement Article of the Annotated Code of Maryland will
      provide, directly or indirectly, supplies, services, architectural services, construction related
      services, leases of real property, or construction.
H.         AFFIRMATION REGARDING COLLUSION
      I FURTHER AFFIRM THAT:
      Neither I, nor to the best of my knowledge, information, and belief, the above business has:
     (1)   Agreed, conspired, connived, or colluded to produce a deceptive show of competition in the
           compilation of the accompanying Bid/proposal that is being submitted; or
     (2)   In any manner, directly or indirectly, entered into any agreement of any kind to fix the
           Bid/proposal price of the Bidder/Offeror or of any competitor, or otherwise taken any action in
           restraint of free competitive bidding in connection with the contract for which the accompanying
           Bid/proposal is submitted.
I.         CERTIFICATION OF TAX PAYMENT
      I FURTHER AFFIRM THAT:
      Except as validly contested, the business has paid, or has arranged for payment of, all taxes due the
      State of Maryland and has filed all required returns and reports with the Comptroller of the
      Treasury, State Department of Assessments and Taxation, and Department of Labor, Licensing, and
      Regulation, as applicable, and will have paid all withholding taxes due the State of Maryland prior
      to final settlement.
J.         CONTINGENT FEES
      I FURTHER AFFIRM THAT:



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      The business has not employed or retained any person, partnership, corporation, or other entity,
      other than a bona fide employee, bona fide agent, bona fide salesperson, or commercial selling
      agency working for the business, to solicit or secure the Contract, and that the business has not paid
      or agreed to pay any person, partnership, corporation, or other entity, other than a bona fide
      employee, bona fide agent, bona fide salesperson, or commercial selling agency, any fee or any
      other consideration contingent on the making of the Contract.
K.          CERTIFICATION REGARDING INVESTMENTS IN IRAN
     (1)     The undersigned certifies that, in accordance with State Finance and Procurement Article, §17-
             705, Annotated Code of Maryland:
           (a)   It is not identified on the list created by the Board of Public Works as a person engaging in
                 investment activities in Iran as described in State Finance and Procurement Article, §17-702,
                 Annotated Code of Maryland; and
           (b)   It is not engaging in investment activities in Iran as described in State Finance and
                 Procurement Article, §17-702, Annotated Code of Maryland.
     (2)     The undersigned is unable to make the above certification regarding its investment activities in
             Iran due to the following activities:
      ____________________________________________________________
           ____________________________________________________________
L.  CONFLICT MINERALS ORIGINATED IN THE DEMOCRATIC REPUBLIC OF
CONGO (FOR SUPPLIES AND SERVICES CONTRACTS)
      I FURTHER AFFIRM THAT:
      The business has complied with the provisions of State Finance and Procurement Article, §14-413,
      Annotated Code of Maryland governing proper disclosure of certain information regarding conflict
      minerals originating in the Democratic Republic of Congo or its neighboring countries as required
      by federal law.
M.          PROHIBITING DISCRIMINATORY BOYCOTTS OF ISRAEL
      I FURTHER AFFIRM THAT:
      In preparing its bid/proposal on this project, the Bidder/Offeror has considered all bid/proposals
      submitted from qualified, potential subcontractors and suppliers, and has not, in the solicitation,
      selection, or commercial treatment of any subcontractor, vendor, or supplier, refused to transact or
      terminated business activities, or taken other actions intended to limit commercial relations, with a
      person or entity on the basis of Israeli national origin, or residence or incorporation in Israel and its
      territories. The Bidder/Offeror also has not retaliated against any person or other entity for reporting
      such refusal, termination, or commercially limiting actions. Without limiting any other provision of
      the solicitation for bid/proposals for this project, it is understood and agreed that, if this certification
      is false, such false certification will constitute grounds for the State to reject the bid/proposal
      submitted by the Bidder/Offeror on this project, and terminate any contract awarded based on the
      bid/proposal.
N.          I FURTHER AFFIRM THAT:
      Any claims of environmental attributes made relating to a product or service included in the bid or
      bid/proposal are consistent with the Federal Trade Commission’s Guides for the Use of
      Environmental Marketing Claims as provided in 16 C.F.R. §260, that apply to claims about the
      environmental attributes of a product, package or service in connection with the marketing, offering
      for sale, or sale of such item or service.


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O.      ACKNOWLEDGEMENT
     I ACKNOWLEDGE THAT this Affidavit is to be furnished to the Procurement Officer and may be
     distributed to units of: (1) the State of Maryland; (2) counties or other subdivisions of the State of
     Maryland; (3) other states; and (4) the federal government. I further acknowledge that this Affidavit
     is subject to applicable laws of the United States and the State of Maryland, both criminal and civil,
     and that nothing in this Affidavit or any contract resulting from the submission of this Bid/proposal
     shall be construed to supersede, amend, modify or waive, on behalf of the State of Maryland, or any
     unit of the State of Maryland having jurisdiction, the exercise of any statutory right or remedy
     conferred by the Constitution and the laws of Maryland with respect to any misrepresentation made
     or any violation of the obligations, terms and covenants undertaken by the above business with
     respect to (1) this Affidavit, (2) the contract, and (3) other Affidavits comprising part of the contract.
     I DO SOLEMNLY DECLARE AND AFFIRM UNDER THE PENALTIES OF PERJURY THAT
     THE CONTENTS OF THIS AFFIDAVIT ARE TRUE AND CORRECT TO THE BEST OF MY
     KNOWLEDGE, INFORMATION, AND BELIEF.

        By:
        Signature of Authorized Representative and Affiant

        Printed Name:
        Printed Name of Authorized Representative and Affiant

        Title:
        Title

        Date:
        Date




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